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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MARYLAND

Michael E. Kennedy,                                 *
                                 Plaintiff,         *
                                                    *
       v.                                           *       Civil Action No.         CCB-I0-CV-1900
                                                    *
Ace Cash Express, 1231 Greenway Drive,              *
Suite 600, Irving, Texas 75038; and Duhe            *
Enterprises, dba Ace Cash Express,                  *
#5421,901 North Salisbury Boulevard,                *
Salisbury, Maryland 21801,                          *
                                                    *
                                 Defendants.        *
                                   AMENDED COMPLAINT                           e'f


I.     Jurisdiction in this case is based on:
       [X]      Federal question (suit is based upon a federal statute or provision of the United
                States Constitution).

       [ X]     Diversity (none of the defendants are residents of the state where plaintiff is a
                resident).

        [X]     Other (explain) Fair Debt Collection Practices Act ("FDCPA") 0[1977.



       A.       Jurisdiction.

       This action is brought pursuant to the Fair Debt Collection Practices Act ("FDCPA '') of
1977, 15    us.c. 91692   et seq., and State of Maryland Fair Debt Collection Practices Act, Md.
Code Ann., Business Regulation 97-101, et seq. andMd. Comm. Law Code Ann. 914-201 et seq.
The Court has jurisdiction over this action pursuant to 28 Us. C. S1331. The Plaintiff further
invokes the pendent jurisdiction of this Court.

       B.       Parties.

                (1)       The Plaintiff in this action is Michael Edward Kennedy, who presently
resides at 33250 Old Ocean City Road, Parsonsburg, Maryland 21849.

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                (2)     The Defendants in this action are:

                        (a)       Ace Cash Express, 1231 Greenway Drive, Suite 600, Irving,
Texas 75038, which is a national corporate entity legally registered and operating within the
confines of the State of Maryland, maintaining a business franchise address at 901 North
Salisbury Boulevard, Salisbury, Maryland 21801. Ace Cash Express does business specializing
in gold buying; auto insurance; prepaid debit cards; payday loans; and title loans. It is sued in its
corporate entity.

                        (b)       Duhe Enterprises, Incl., which is a legally registered entity
within the conf'mes of the State of Maryland, and operates the Ace Cash Express franchise
#5421 located at 901 North Salisbury Boulevard, Salisbury, Maryland 21801. James A.

Duhe is the owner of Duhe Enterprises, Inc., and operates Ace Cash Express franchise
#5421, doing business specializing in gold buying; auto insurance; prepaid debit cards;
payday loans; and title loans. It is sued in its corporate entity.




        C.      The Complaint In This Matter Is Timely Filed.

        The statute of limitations for filing a Fair Debt Collection Practices Act (" FDCP A '')
action in accordance with the state laws of Maryland for a comparable civil action is two-years,
with the time commencing from the date the facts supporting the claim become known and with
the exercise of reasonable diligence. The material documents and factual evidence supporting
the instant action became known to Mr. Kennedy in July of201O. The Complaint in this matter
is therefore timely filed.

        D.      Trial Demand.

        The Plaintiff in the above-captioned complaint, Michael E. Kennedy, demands a trial by
jury in this matter.



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        Duhe Enterprises,     Inc., maintains     a business at 5644 N Nitbsdale Drive, Salisbury, Maryland
21801-2441.

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II.                            Statement of the Case

       The Plaintiff in this matter brings suit under the Fair Debt Collection Practices Act of
1977 ("FDCPA")     (15   Us.c. ~1692   et seq.) and State of Maryland Fair Debt Collection
Practices Act collection laws (Md. Code Ann., Business Regulation ~ 7-101, et seq. and Md.
Comm. Law Code Ann. ~14-201 et seq.) prohibiting debt collectors from engaging in abusive,
deceptive or unfair collection practices.

III.                                   Background
        The Plaintiff, Michael E. Kennedy, brings suit under both the federal and Maryland debt
collection laws prohibiting debt collectors from engaging in abusive, deceptive, or unfair
collection practices. Mr. Kennedy asserts that Defendants Ace Cash Express and Duhe
Enterprises, dba Ace Cash Express franchise #5421, acting through their agents, employees,
officers, members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers knowingly and willingly engaged in an unlawful telephone
campaign in an effort to collect payment on a disputed debt owed Ace Cash Express by an
individual other than Plaintiff and who has been identified by Ace Cash Express employees as
"Marilyn Wilson." The Plaintiff does not know Marilyn Wilson; has no relation to Marilyn
Wilson; and is not legally responsible for any debts incurred by Marilyn Wilson. Ace Cash
Express, acting through their agents, employees, officers, members, directors, heirs, successors,
assigns, principals, trustees, sureties, subrogees, representatives, and insurers further threatened
Plaintiff with repossession of his own personal vehicle - a vehicle which he has clear title to.
Lastly, even after being sent a cease and desist letter by Plaintiff, Ace Cash Express, acting
through their agents, employees, officers, members, directors, heirs, successors, assigns,
principals, trustees, sureties, subrogees, representatives, and insurers continued in their unlawful
telephone campaign in an effort to collect payment on a disputed debt owed Ace Cash Express
by an individual other than Plaintiff. The individual and collective acts of Ace Cash Express,
acting through their agents, employees, officers, members, directors, heirs, successors, assigns,
principals, trustees, sureties, subrogees, representatives, and insurers further served to invade the
 Plaintiff s right to privacy and cause Plaintiff emotional distress and mental anguish.



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IV.                                        Introduction
1.)     Count I of the Plaintiff's Complaint is based on the State of Maryland's Fair Debt
Collection Practices Acr, Md. Code Ann., Business Regulation S 7-101, et seq. and Md. Comm.
Law Code Ann. S 14-20 1et seq.
2.)        Count II ofthe Plaintiff's Complaint is based on the Fair Debt Collection Practices Act
of 1977 ("FDCPA")        (15 USc. S1692 et seq.)
3.)        Count III of the Plaintiff's Complaint is based on the Plaintiffs common law right to
privacy.
4.)        Count IV ofthe Plaintiff's Complaint is based on the State of Maryland's Fair Debt
Collection Practices Act, Md. Code Ann., Business Regulation S 7-101, et seq. and Md. Comm.
Law Code Ann. S14-201 et seq.
5.)        Defendants acted through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers at all
times relative to this complaint.
6.)        Defendants are seeking to collect a consumer debt from Plaintiff as defined by Md. Code
Ann., Business Regulation S 7-101(e)
7.)        The account in question is a consumer credit transaction as defined by Md. Code Ann.,
Business Regulation S 7-101(e)(2) as Plaintiff has allegedly received property, services or money
from the Defendants on an extension of credit and such property, services or money was used
primarily for personal, family or household purposes.
8.)        Jurisdiction arises under 28 US C. 91331.
9.)        Defendants conduct business and are located in the state of Maryland, Wicomico
County, and therefore, personal jurisdiction is established.
10.)       Declaratory relief is available pursuant to 15 USc. S1692 et seq.,
 11.)      Plaintiff is a natural person residing in Parsonsburg, Wicomico County, Maryland.
 12.)      Plaintiff is a consumer and, according to Defendants, Plaintiff allegedly owes a debt as
that term is defined by Md. Code Ann., Business Regulation S 7-101, et seq. and Md. Comm. Law
 Code Ann. S14-201 et seq.
 13.)      Plaintiff is a consumer as that term is defined by 15 USc. 1692(a) (3), and according to

           The Maryland FDCP A short title is the Maryland Consumer Debt Collection Act ("MCDCA "), hereinafter
 referred to as the Maryland "FDCP A. "
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Defendants, Plaintiff allegedly owes a debt as that term is defined by 15 Us.c. 1692(a) (5).
14.)   Defendants are a debt collector as that term is defined by Md. Comm. Law Code Ann.

S14-201 (b).
15.)    Defendants are a debt collector as that term is defined by 15 Us.c. 1692(a) (6) and
sought to collect a consumer debt from Plaintiff.
16.)    Defendant Ace Cash Express is a national company with a franchise business office
located in Salisbury, Wicomico County, Maryland, operated by Duhe Enterprises, Inc., also of
Wicomico County, Maryland.

v.                                     Factual Allegations
17.)   On or about August 1st, 2009 Plaintiff switched his wireless service provider from Sprint
to Verizon.
18.)   On or about August 1St, 2009 Verizon provided 443-523-0180 as Plaintiffs new wireless
cell phone number.
19.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
constantly and continuously placed collection calls to Plaintiff seeking and demanding payment
for an alleged debt.
20.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
contacted Plaintiff from telephone numbers (972) 550-5000 and (410) 742-9222, on Plaintiff's
cell phone, seeking and demanding payment for an alleged debt.
21.)    On information and belief, the telephone number (972) 550-5000 is listed as belonging to
the Irving, Texas office of Ace Cash Express in the telephone directory.
22.)    On information and belief, the telephone number (410) 742-9222 is listed as belonging
to the Salisbury, Maryland franchise office #5421 of Ace Cash Express in the telephone
directory, which is operated by James A. Duhe and Duhe Enterprises, Inc.
23.)     Plaintiff does not owe the debt that Defendants was seeking to collect by continuously
contacting him.




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24.)     Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, called
Plaintiff and asked for "Marilyn Wilson".
25.)     Plaintiff informed Defendant's agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers on six
(6) separate occasions that he did not know "Marilyn Wilson."
26.)     Defendants,       acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
continued to place telephone calls to Plaintiff despite being told that he did not know "Marilyn

Wilson".
27.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers, talked
to Plaintiff in an abusive and harassing manner. Defendants, acting through their agents,
employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
subrogees, representatives, and insurers, yelled and used abusive language when speaking to
Plaintiff.
28.)         Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
threatened to file a lawsuit against Plaintiff if Plaintiff did not put "Marilyn Wilson" on the
telephone.
29.)         Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
threatened to reposes Plaintiff s vehicle if Plaintiff did not put "Marilyn Wilson" on the
telephone.
30.)     Plaintiff's 2001 Chevrolet Blazer was financed by the Wilmington Trust Company.
 31.)      Plaintiffs   2001 Chevrolet Blazer Wilmington Trust Company auto loan was paid in full
 and Plaintiff had clear title to the vehicle prior to August 1st, 2009.
 32.)        On June 4th, 2010 Plaintiff mailed a cease and desist letter, via certified mail, properly
 addressed to Ace Cash Express, 1231 Greenway Drive, Suite 600, Irving, Texas 75038.
 33.)        Plaintiff, in his cease and desist letter as identified above in item #32 of this complaint,
 notified Defendant Ace Cash Express that: (a) he had received the 443-523-0180 telephone

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number in August of 2009; (b) did not know "Marilyn Wilson" nor was he legally responsible
for any debts owed by her to Ace Cash Express; (c) had clear title to his 2001 Chevrolet Blazer
and did not personally owe any monies to Ace Cash Express; (d) demanded that Ace Cash
Express provide a copy of the contract proving that Plaintiff owed Ace Cash Express a debt and
that the alleged debt was unpaid; and (e) formally requested that, if such debt could not be
proved as being owed Ace Cash Express by Plaintiff, that Ace Cash Express and its
representatives then cease and desist from calling Plaintiff relative to any debts owed Ace Cash
Express by "Marilyn Wilson."
34.)   Defendants did not respond to the Plaintiffs cease and desist letter as identified above in
items #32 and #33 ofthis complaint.
35.)   Defendants have not, as of the filing ofthis complaint, provided Plaintiff with a copy of
any contract proving that Plaintiff owed Defendants a debt and that the alleged debt was unpaid.
36.)   On information and belief, within five (5) days after first contacting Plaintiff, Ace Cash
Express and its representatives were required to provide Plaintiff with written notice of the
amount of money Plaintiff allegedly owed; the name of the creditor to whom it was owed; and
what action needed to be taken by Plaintiff if he did not owe the money.
37.)   Plaintiff has not been provided by Ace Cash Express, or its representatives, with written
notice of the amount of money Plaintiff allegedly owed; the name of the creditor to whom it was
owed; and what action needed to be taken by Plaintiff if he did not owe the money.
38.)    On information and belief, Defendants and their representatives were required by law to
end all telephone calls and collection efforts against Plaintiff after receiving Plaintiffs June 4th,
2010 formal cease and desist letter.
39.)   Plaintiff does not owe Defendants, or any other subsidiary companies of the Defendants,
any monies.
40.)   Defendants, after receiving Plaintiffs cease and desist letter identified above in items
#32 and #33 of this complaint, has acted through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, to continue to place telephone calls to Plaintiff seeking and demanding payment for an
alleged debt owed by "Marilyn Wilson."
41.)    Since June 4th, 2010 the Defendants, acting through their agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

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representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
reposes Plaintiff s personal vehicle.
42.)    Since June 4th, 2010 the Defendants, acting through their agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
file a lawsuit against Plaintiff.
43.)    Since June 4th, 2010 the Defendants, acting through their agents, employees, officers,
members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
representatives, and insurers, has continued to place telephone calls to Plaintiff and threaten to
garnish Plaintiffs pay.
44.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,
trustees, sureties, subrogees, representatives, and insurers had no legal right to continue to
contact Plaintiff and collect a debt Plaintiff did not owe them.
45.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,
trustees, sureties, subrogees, representatives, and insurers have engaged in actual malice,
motivated by ill will and the intent to injure, as exhibited and demonstrated by their conduct in
continuing to place telephone calls to Plaintiff and threaten to file a lawsuit against Plaintiff.
46.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,
trustees, sureties, subrogees, representatives, and insurers have engaged in actual malice,
motivated by ill will and the intent to injure, as exhibited and demonstrated by their conduct in
continuing to place telephone calls to Plaintiff and threaten to garnish Plaintiffs pay.
47.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,
trustees, sureties, subrogees, representatives, and insurers have engaged in actual malice,
motivated by ill will and the intent to injure, as exhibited and demonstrated by their conduct in
continuing to place telephone calls to Plaintiff and threaten to repossess his personal vehicle.
48.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,

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trustees, sureties, subrogees, representatives, and insurers have engaged in actual malice,
motivated by ill will and the intent to injure, as exhibited and demonstrated by their conduct in
continuing to invade the Plaintiffs right to privacy.
49.)    Since Plaintiffs June 4th, 2010 cease and desist letter the Defendants, acting through
their agents, employees, officers, members, directors, heirs, successors, assigns, principals,
trustees, sureties, subrogees, representatives, and insurers have engaged in actual malice,
motivated by ill will and the intent to injure, as exhibited and demonstrated by their conduct in
continuing to make annoying and harassing telephone calls to Plaintiff and by the use of threats,
obscene, profane or grossly abusive language.
50.)    The Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
use of threats and threats of repossession, abusive and obscene or profane language, and
harassing and annoying calls in the attempted collection of an alleged debt owed by Plaintiff,
invaded the Plaintiff's right to privacy and proximately caused the Plaintiff to suffer emotional
distress and mental anguish.
51.)    The Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
did proximately cause Plaintiff to suffer the physical and mental reactions of apprehension;
anxiety; depression; appetite disorders and weight; sleeping problems; fatigue; restlessness; and
mood changes coupled with a loss of drive and enthusiasm to pursue everyday activities and
personal responsibilities and was induced by fear of loss of property, loss of income, and the
subjection to adverse actions that pertained or related to his personal credit history.

VI.                                     Count I

        A.       DEFENDANTS VIOLATED THE STATE OF MARYLAND FAIR DEBT
                 COLLECTION PRACTICES ACT.

52.)    Defendants violated the Maryland Fair Debt Collection Practices Act (Md. Code Ann.,
Business Regulation 97-101, et seq. and Md. Comm. Law Code Ann. 914-201 et seq.) based on
the following:
        (a.)     Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
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insurers, violated Md. Comm. Law Code Ann. ~14-202 (6) of the Maryland Fair Debt Collection
Practices Act when Defendant placed collection calls to Plaintiff repeatedly and continuously so
as to annoy Plaintiff.
        (b.)     Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated Md. Comm. Law Code Ann. ~14-202 (6) of the Maryland Fair Debt Collection
Practices Act when Defendants placed collection calls to the Plaintiff with such frequency as to
be both unreasonable and to constitute a harassment to Plaintiff under the circumstances.
        (c.)     Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated Md. Comm. Law Code Ann. ~14-202 (8) of the Maryland Fair Debt Collection
Practices Act by falsely representing that a legal proceeding is about to be instituted unless
payment of a consumer debt is made by Plaintiff.
        (d)     Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. ~14-202 (7) by use of obscene or grossly abusive language
in communicating with the Plaintiff.
        (e)     Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violatedMd. Comm. Law Code Ann. ~14-202 andMd. Code Ann., Fam. Law ~ 14-101 by
engaging in conduct the natural consequence of which was to result to harass, oppress, or abuse
and to proximately cause the Plaintiff to suffer emotional distress and mental anguish in
connection with the collection of a debt.
         (f.)    Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated Md. Comm. Law Code Ann. ~14-201 et seq. and Md. Code Ann., Business Reg.
~7-101, et seq. of the Maryland Fair Debt Collection Practices Act by continuously failing to
comply with the statutory regulations contained within the FDCPA, 15        Us.c. ~1692    et seq.
                 (i.)    Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and


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insurers, violated ~1692 (d) of the FDCPA by engaging in conduct the natural consequence of
which is to harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
                (ii.)    Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (d) (5) of the FDCPA by causing a telephone to ring repeatedly and
continuously with the intent to annoy, abuse, and harass Plaintiff.
                (iii.)   Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (e) (2) (A) of the FDCPA by falsely representing the character, amount,
and legal status of Plaintiff's debt because Plaintiff of Plaintiff's debt because Plaintiff does not
owe the money Defendants are attempting to collect.
                 (iv.)   Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (e) (5) ofthe FDCPA by threatening to file a lawsuit against Plaintiff
even though Defendants do not intend to do so.
                (v.)     Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect
a debt by threatening to file a lawsuit against Plaintiff even though Defendants do not intend to
do so.
                (vi.)    Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect
a debt by threatening to reposes Plaintiff's vehicle even though Defendants do not intend to do
so.
                (vii.)   Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (f) (1) of the FDCPA by attempting to collect an amount that is not
authorized by the agreement or permitted by law because Plaintiff does not owe the money
Defendants are attempting to collect.


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                  (viii.)   Defendants, acting through their agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and
insurers, violated ~1692 (c) ~~805 (c) of the FDCPA by continuing to collect a debt from the
Plaintiff after receiving a cease and desist communication notice.

                                                Count II

           A.     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION                          PRACTICES
                  ACT OF 1977. 15 U.S.c. ~1692et seq.

53.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (d) of the FDCPA by engaging in conduct the natural consequence of which is to
harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
54.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (d) (5) of the FDCPA by causing a telephone to ring repeatedly and continuously
with the intent to annoy, abuse, and harass Plaintiff.
55.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (e) (2) (A) of the FDCPA by falsely representing the character, amount, and legal
status of Plaintiff s debt because Plaintiff does not owe the money Defendants are attempting to
collect.
56.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (e) (5) of the FDCPA by threatening to file a lawsuit against Plaintiff even though
Defendants do not intend to do so.
57.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect a debt
by threatening to file a lawsuit against Plaintiff even though Defendants do not intend to do so.
58.)       Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,


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violated ~1692 (e) (10) of the FDCPA by using deceptive means in an attempt to collect a debt
by threatening to reposes Plaintiffs vehicle even though Defendants do not intend to do so.
59.)   Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated ~1692 (f) (1) ofthe FDCPA by attempting to collect an amount that is not authorized by
the agreement or permitted by law because Plaintiff does not owe the money Defendants are
attempting to collect.

                                             Count III

       A.       DEFENDANTS VIOLATED THE PLAINTIFF'S COMMON LAW RIGHT
                TO PRIVACY.

60.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Plaintiffs right to privacy by engaging in conduct the natural consequence of which is to
harass, oppress, or abuse the Plaintiff in connection with the collection of a debt.
61.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Plaintiffs right to privacy by causing a telephone to ring repeatedly and continuously
with the intent to annoy, abuse, and harass Plaintiff.
62.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers
engaged in conduct, after receiving Plaintiffs cease and desist letter, while communicating with
Plaintiff by utilizing obscene, profane or grossly abusive language were intentional and with
malice, or in complete and reckless disregard of Plaintiff s common law right to privacy.

                                             Count IV

        A.      DEFENDANT'S INTENTIONAL ACTIONS CAUSED THE PLAINTIFF
                TO SUFFER EMOTIONAL DISTRESS AND MENTAL ANGUISH.

63.)    Defendants, acting through their agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. ~14-202, Md. Comm. Law Code Ann. ~14-203 and Md.
Code Ann., Fam. Law ~ 14-101.

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        (a)     Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. f14-202, Md. Comm. Law Code Ann. f14-203 and Md.
Code Ann., Fam. Law     f   14-101 by         ing in conduct the natural consequence of which was to
result to harass, oppress, or abuse and to proximately cause Plaintiff to suffer emotional distress
and mental anguish in connection with the collection of a debt.
        (b)     Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. f14-201 et seq., Md. Comm. Law Code Ann. f14-203 and
Md. Code Ann., Fam. Law       f    14-101 by engaging in conduct that was intentional or reckless
extreme and outrageous and the natural consequence of which was to result to proximately cause
Plaintiff to suffer emotional distress and mental anguish in connection with the collection of a

debt.
        (c)     Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. f14-201 et seq., Md. Comm. Law Code Ann. f14-203 and
Md. Code Ann., Fam. Law       f    14-101 by engaging in conduct continuing to contact Plaintiff after
receiving his cease and desist letter were intentional and reckless acts and the natural
consequence of which was to result to proximately cause Plaintiff to suffer emotional distress
and mental anguish in connection with the collection of a debt.
         (d)    Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann.           f 14-20 1 et seq.,   Md. Comm. Law Code Ann.   f 14-203   and
Md. Code Ann., Fam. Law        f   14-101 by engaging in conduct by making annoying and harassing
 telephone calls to Plaintiff after receiving his cease and desist letter were extreme, outrageous,
 intentional and reckless acts and the natural consequence of which was to result to proximately
 cause Plaintiff to suffer emotional distress and mental anguish in connection with the collection

 ofa debt.
         (e)     Defendants, acting through their agents, employees, officers, members, directors,
 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
 violated Md. Comm. Law Code Ann. f14-201 et seq., Md. Comm. Law Code Ann. f14-203 and

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Md. Code Ann., Fam. Law J 14-101 by engaging in conduct while communicating with the
Plaintiff by utilizing obscene, profane or grossly abusive language were extreme, outrageous,
intentional and reckless acts and the natural consequence of which was to result to proximately
cause Plaintiff to suffer emotional distress and mental anguish in connection with the collection
ofa debt.
          (f)    Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. J14-201 et seq., Md. Comm. Law Code Ann. J14-203 and
Md. Code Ann., Fam. Law J 14-101 as exhibited and demonstrated by their actual malice,
motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
and threaten to file a lawsuit against Plaintiff after receiving Plaintiffs June 4th, 2010 cease and
desist letter.
          (g)    Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. J14-201 et seq., Md. Comm. Law Code Ann. J14-203 and
Md. Code Ann., Fam. Law J 14-101 as exhibited and demonstrated by their actual malice,
motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
and threaten to garnish Plaintiffs pay after receiving Plaintiffs June 4th, 2010 cease and desist
letter.
          (h)    Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. J14-201 et seq., Md. Comm. Law Code Ann. J14-203 and
Md. Code Ann., Fam. Law J 14-101 as exhibited and demonstrated by their actual malice,
motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
and threaten to repossess his personal vehicle after receiving Plaintiffs June 4th, 2010 cease and
desist letter.
          (i)    Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md. Comm. Law Code Ann. J14-201 et seq., Md. Comm. Law Code Ann. J14-203 and
Md. Code Ann., Fam. Law J 14-101 as exhibited and demonstrated by their actual malice,
motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff

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and willfully and intentionally invade the Plaintiff s right to privacy after receiving Plaintiffs
June 4th, 2010 cease and desist letter.
        G)      Defendants, acting through their agents, employees, officers, members, directors,
heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers,
violated Md Comm. Law Code Ann. ~14-201 et seq., Md Comm. Law Code Ann. ~14-203 and
Md Code Ann., Fam. Law ~ 14-101 as exhibited and demonstrated by their actual malice,
motivated by ill will and the intent to injure, by continuing to place telephone calls to Plaintiff
and use of threats, obscene, profane or grossly abusive language after receiving Plaintiffs June
4th, 2010 cease and desist letter.

        WHEREFORE, the Plaintiff, MICHAEL KENNEDY, respectfully requests judgment
be entered jointly and severally against the Defendants, ACE CASH EXPRESS and DUHE
ENTERPRISES,        INC., dba ACE CASH EXPRESS FRANCmSE                    #5421, for the following:

64.)    Declaratory judgment that the Defendant's conduct, while acting through their agents,
employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
subrogees, representatives, and insurers, violated the Fair Debt Collection Practices Act of
Maryland, Md Code Ann., Business Regulation ~ 7-101, et seq. and Md Comm. Law Code Ann.

~14-201 et seq.
65.)    Declaratory judgment that the Defendant's conduct, while acting through their agents,
employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,
 subrogees, representatives, and insurers, violated the Fair Debt Collection Practices Act, Title 15
 Us.c. ~1692 et seq.
 66.)    Statutory damages of$1000.00 jointly and severally against Defendants ACE CASH
 EXPRESS and DUHE ENTERPRISES, INC., dba ACE CASH EXPRESS FRANCHISE
 #5421 pursuant to the Fair Debt Collection Practices Act, Title 15 Us.c. ~1692 et seq., and the
 Maryland Fair Debt Collection Practices Act, Md Code Ann., Business Regulation ~ 7-101, et
 seq. and Md Comm. Law Code Ann. ~14-201 et seq.
 67.)    Actual damages of:
         (a)      $175,000.00 jointly and severally against Defendants ACE CASH EXPRESS
 and DUHE ENTERPRISES, INC., dba ACE CASH EXPRESS FRANCmSE                               #5421 for
 damages resulting from the infliction of emotional distress and mental anguish proximately

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caused to Plaintiff by Defendant's actual malice, motivated by ill will and the intent to injure, and
in violation of Md Comm. Law Code Ann.       S 14-203; and MarylandFair    Debt Collection Practices
Act, Md Code Ann., Business Regulation ~ 7-101, et seq.; and Md Comm. Law Code Ann. ~14-
201 et seq.
        (b)     Any and all costs related to mileage, postage, and copying fees incurred by the
Plaintiff relative to this action.
        (c)      Costs and reasonable attorneys' fees, if any, pursuant to the Fair Debt Collection
Practices Act, Title 15 Us.C. ~1692et seq. and the Maryland Fair Debt Collection Practices
Act, Md Code Ann., Business Regulation ~ 7-101, et seq. and Md Comm. Law Code Ann. ~14-
201 et seq.
57.)    Any other relief that this Honorable Court deems appropriate, just or proper.

                                     DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, MICHAEL KENNEDY, demands a jury trial
in this case.




RESPECTFULL Y SUBMITTED,




                                                     ~~
                                                       Plaintiff, pro se

Dated this 27th day of August, 2010.

                                                       Michael E. Kennedy
                                                       33250 Old Ocean City Road
                                                       Parsonsburg, Maryland 21849
                                                       (410) 572-8802




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           VERIFICATION OF COMPLAINT AND CERTIFICATION


STATE OF MARYLAND                        )
                                         )         ss:
COUNTY OF WICOMICO                       )

Plaintiff, MICHAEL        KENNEDY, states as follows:
1.)      I am the Plaintiff in this civil proceeding.
2.)      I have read the above-entitled civil Amended Complaint prepared by myself and I
believe that all of the facts contained in it are true, to the best of my knowledge, information and
belief formed after reasonable inquiry.
3.)      I believe that this civil Amended Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension, modification or reversal of existing
law.
4.)      I believe that this civil Amended Complaint is not interposed for any improper purpose,
such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
needless increase in the cost of litigation to any Defendant( s), named in the Complaint.
5.)      I have filed this Amended Complaint in good faith and solely for the purposes set forth
in it.

         Pursuant to 28   Us.c. ~ 1746(2),     I, MICHAEL        E. KENNEDY,      hereby declare (or
certify, verify or state) under penalty of perjury that the foregoing is true and correct.




                                                         ~~
                                                              Plaintiff, pro se

Executed on this 27th day of August, 2010.

                                                              Michael E. Kennedy
                                                              33250 Old Ocean City Road
                                                              Parsonsburg, Maryland 21849
                                                              (410) 572-8802


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